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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



                                                     )
IN RE APPLICATION OF USA PURSUANT                    )       ML No: 1:19-ml-00022
TO 18 U.S.C. § 3512 FOR ORDER FOR                    )
COMMISSIONER'S APPOINTMENT FOR                       )
BANK FRAUD INVESTIGATION                             )



Reference: CRM-182-65924

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER'S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Philip R. Mervis, Trial Attorney, Office of International

Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from Georgia. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.       On October 2, 2018, the Office of the Chief Prosecutor, Ministry of Justice of

Georgia submitted a request for assistance (the Request) to the United States, pursuant to the

principles of comity and reciprocity. As stated in the Request, the Office of the Chief Prosecutor

in Georgia is investigating Lia Dolidze and the company Marsel LLC for fraud and money

laundering, which occurred between in or about March 1, 2018 to July 4, 2018, in violation of

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the criminal law of Georgia specifically, Articles 180 and 194 of the Criminal Code of Georgia,

respectively. Although the United States has no treaty obligation to assist Georgia, it generally

does so as a matter of comity.

       2.      According to Georgian authorities, Marsel LLC owns a hotel and a hotel room

booking website (the Marsel LLC website), whose registered founder, owner, and director is

Georgian citizen Lia Dolidze (Dolidze). Marsel LLC has a bank account at JSC TBC Bank in

Georgia, opened on April 26, 2017. According to JSC TBC Bank representatives, JSC TBC

Bank received fraudulent transaction reports associated with 21 transactions conducted from 19

bank cards, registered to banks in the United States, to Marsel LLC's bank account. Through

these 19 bank cards, over the course of 21 transactions, a total of USD 24,317.00 was transferred

to the Marsel LLC bank account during the May 15, 2018 through July 4, 2018 time period.

Lawfully obtained bank records also shows that Dolidze withdraws large amounts of the

transferred funds, with a listed purpose of the withdrawal as "entrepreneurial costs."

       3.      Following the review of the bank records, Georgian authorities interviewed

Dolidze. According to Dolidze, the purpose of the hotel-booking website was to defraud

customers by processing fictitious bookings at the hotel owned by Marsel LLC. Dolidze further

confirmed that the hotel owned by Marsel LLC remained vacant with no guests. According to

Dolidze, once the Marsel LLC website processed a hotel reservation and a payment was made to

the Marsel LLC bank account at JSC TBC Bank, she would quickly withdraw the funds and give

the funds to her co-conspirators, and receive a percentage as her payment. These co-conspirators

would then use the customer's identity information from the Marsel LLC website to fraudulently

book other hotel rooms, and further facilitate the fraudulent transfer of funds from the customer's

bank cards, unbeknownst to the customer.



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       4. Following the interview of Dolidze, on July 31, 2018, Georgian authorities lawfully

obtained additional bank records which indicated fraudulent transactions associated with

additional bank cards issued by U.S. banks. The list below shows the total number of U.S.

accounts that were fraudulently charged as a part of Dolidze's course of conduct:

               • Citibank N.A.: XXXXXXXXXXXX6869,XXXXXXXIXXXXX421O,
                 )0000000000(X1164, )000(XXXXXXXX6182,
                 )0000(X           0743, XXXXXXXXXXXX4339,
                           X)0000(0787, and )00000(XXXXXX1595;

               • Chase Bank, N.A.: XXXXXXXXXXXXO922 and
                 )0000(X)0000(X0322;

               • Citizens Bank: )00000000000(0066;

               • Central Bank: XXXXXXXXXXXX2231 and XXXXXXXXXXXX5295;

               • Ameris Bank: )0000000000(0087, XXXXXXXXXXX7925, and
                 XXXXXXXXXXX7O69;

               • First National Bank of Central Texas: )00000000(X)0(8991 and
                 XX XXXXXXXXXX0440;

              • Verity Credit Union: XXXXXX)00000(4784;

              • Muncy Bank and Trust: XXXXXX                   X5758;

              • First National Bank of Bellevue: )0000000(                3352;

              • Capital City Bank: XXXXXXXXXXXX1382;

              • Bank of Hawaii: )00000000000(7007 and )0000(X                          X2031;

              • First National Bank of Pennsylvania: XXXXXXXXXXXX2243,
                )0000(XXXXXXX4759, XXXXXXXXXXXX4236, and
                XXXXXXXXXXXX5

              • Missouri Bank and Trust of Kansas City: XXXXXXXXXXXX8623;

              • Webster Bank, N.A.: XXXXXXXXXXXX6534, XXXXXXXXXXXX7832,
                and XXXXXXXXXXXX5755;

                  Landmark Bank: XXXXX)00000a9582;
                                               3
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               •   Firstbank: XXXXXXX               2539;

               •   Great Western Bank: XXXXXXX)CXXXX7365;

               •   Guaranty Bank and Trust Company: XXXXXXXVOCXX1543;

               • American Savings Bank F.S.B.: XXXX)00(XXXXX0144;

               •   Cadence Bank, N. A.: XXXXXXXXXXXX9852;

               • Pine Bluff National Bank:                  XXXXX3095;

               •   Charles Schwab Bank: )00000(XXXXXX9513,
                   XXXXXXXXXXXX4386, )00000(           X8685,
                   XXXXXXXXXXXX5607, and XXXXXXXXXXXX5059;

               • Dacotah Bank: XXXXXXXXXXXX6619;

               • Florida Community Bank, N.A.: XXXXXXXXXXXX3647

               •   Wilmington Savings Fund Society, F.S.B.: XXXVOCXXXXXX6073 and
                   XXXXXXXXXXXX4401;

               • Lone Star National Bank: XXXXXXXXVCXX6844

               • Lakeland Community Credit Union: XXX)00000(XXX4402

               • National City Bank: XXXXXXXXXV0(0232 and
                 XXXXXXXXXXXX1696;

               •   First Tennessee Bank, N.A.:              XXXXXX0824; and

               • Kitsap Bank: XXXXXXXXXXXX7095


       5.      To further the investigation, Georgian authorities have asked U.S. authorities to

provide bank records pertaining to account numbers identified in paragraph 4 and to compel the

associated account holders to submit to an interview.
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                                      LEGAL BACKGROUND

        6.      When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

        Upon application, duly authorized by an appropriate official of the Department of
        Justice, of an Attorney for the Government, a Federal judge may issue such orders
        as may be necessary to execute a request from a foreign authority for assistance in
        the investigation or prosecution of criminal offenses, or in proceedings related to
        the prosecution of criminal offenses, including proceedings regarding forfeiture,
        sentencing, and restitution.



        [A]n application for execution of a request from a foreign authority under this
        section may be filed. . . in the District of Columbia.



        The tern' "foreign authority" means a foreign judicial authority, a foreign
        authority responsible for the investigation or prosecution of criminal offenses or
        for proceedings related to the prosecution of criminal offenses, or an authority
        designated as a competent authority or central authority for the purpose of making
        requests for assistance pursuant to an agreement or treaty with the United States
        regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

        7.      Congress enacted this section to make it "easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.1 This section provides clear authority for the federal courts, upon application duly


1 Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
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authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        8.       An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs2 has reviewed and authorized the request, and

executes the request itself or delegates execution to another attorney for the government.3 Upon

such a duly authorized application, Section 3512 authorizes a federal judge4 to issue "such orders

as may be necessary to execute [the] request," including: (1) search warrants under Fed. R.

Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign

authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).




3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were executed prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc.,'
542 U.S. 241, 247-49 (2004) (describing history of Section 1782). When enacting Section 3512,
Congress anticipated that improved U.S. handling of foreign requests would ensure reciprocity in
response to U.S. requests for assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093
(2009) (statement of Rep. Schiff).

2The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).

3 "Section 3512 can be invoked only when authorized by OIA. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
OIA." Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
2011) (on file with the Office of International Affairs).

4The term "federal judge" includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3 )(B) (including a magistrate judge in the definition of federal judge).
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       9.      Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents. The appointed person has authority

to: (1) issue an order requiring a person to appear and/or produce documents or other things; (2)

administer any necessary oaths; and (3) take testimony or statements and receive documents or

other things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents

or other things, the person appointed, commonly referred to as the "commissioner," typically

uses a subpoena entitled "Commissioner's Subpoena." Any such subpoena may be served or

executed anywhere in the United States. 18 U.S.C. § 3512(f). A sample "Commissioner's

Subpoena" is included as Attachment A.

                                    REQUEST FOR ORDER

       10.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been "duly authorized" within the meaning of Section

3512. In addition, the Request was submitted by an appropriate "foreign authority," the Office

of the Chief Prosecutor, Ministry of Justice, Georgia, the designated Central Authority in

Georgia and seeks assistance in the investigation of fraud and money laundering, criminal

offenses in Georgia. The requested Order is necessary to execute the Request, and the assistance

requested, i.e., the production of bank records and witness interviews, falls squarely within that

contemplated by Section 3512. Finally, this application was properly filed in the District of

Columbia.

       11.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters.



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       12.     When executing a foreign request for assistance in a criminal matter, Section

3512, likewise should require no notice other than to the recipients. This is true even if the

Requesting State, as here, seeks financial records, because the Right to Financial Privacy Act, 12

U.S.C. §§ 3401 et seq., including its notice provisions, does not apply to the execution of foreign

requests for legal assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989),

cert. denied, 493 U.S. 1072 (1990); In re Letters of Request from the Supreme Court of Hong

Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); In re Letter of Request for Judicial Assistance

from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla.

1987). Accordingly, this Court should authorize a commissioner to collect the evidence

requested without notice to any person other than the recipient(s) of any given commissioner

subpoena.

       13.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Philip R.

Mervis, Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner's subpoenas, as needed, to

collect the evidence necessary to execute any pending request for assistance and any subsequent




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supplemental requests in connection with the same matter, to do so in a manner consistent with

the intended use of the evidence.

                                            Respectfully submitted,

                                            VAUGHN A. ARY
                                            DIRECTOR
                                            OFFICE OF INTERNATIONAL AFFAIRS
                                            OK Bar Number 12199



                                    By:
                                            Philip R Mervis
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                       ATTACHMENT A
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



IN RE APPLICATION OF USA PURSUANT
TO 18 U.S.C. § 3512 FOR ORDER FOR
COMMISSIONER'S APPOINTMENT FOR
[Insert Nature of Case/Investigation]



Reference: [Insert DOB]
(Please repeat when responding.)

                                COMMISSIONER'S SUBPOENA

TO: [Insert Name of Entity]

       I, Commissioner [Insert Attorney Name] , Trial Attorney, Office of International Affairs,

Criminal Division, U.S. Department of Justice, acting pursuant to 18 U.S.C. § 3512, and this

Court's Order signed on [Insert Date], for the purpose of rendering assistance to [Insert

Country] , command that you provide the following documents regarding (an) alleged

violation(s) of the laws of [Insert Country]; specifically, [Insert Name of Offense(s), in violation

of Section [Insert Number] of the [Insert Country Adjective] [Criminal][Penal] Code.

       Provide records to International Affairs Specialist [Insert Name] by emailing them to

[Insert Email Address] or by mailing via FedEx either a paper copy of the records or any

commonly used digital storage device loaded with the files to the following mailing address by

            ,20

[Insert IAS Name, Mailing Address, Email Address, and Telephone Number]
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        For failure to provide records and/or appear for testimony, you may be deemed guilty of

contempt and liable to penalties under the law.


Date:
                                                    COMMISSIONER
                                                    [Name]
                                                    Trial Attorney
                                                    Office of International Affairs
                                                    Criminal Division, Department of Justice
                                                    1301 New York Avenue, N.W., Suite 800
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                                                    [Email Address]




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